          Case: 24-2415        Document: 65       Page: 1      Date Filed: 05/06/2025



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PATRICIA S. DODSZUWEIT             UNITED STATES COURT OF APPEALS                      TELEPHONE
                                              FOR THE THIRD CIRCUIT                   215-597-2995
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                                           PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov

                                                May 6, 2025



Tasha J. Bahal, Esq.                                 Bradley Lehman, Esq.
William V. Bergstrom, Esq.                           Erin E. Murphy, Esq.
Angela Cai, Esq.                                     Peter A. Patterson, Esq.
Janet Carter, Esq.                                   Matthew Rowen, Esq.
Jeremy Feigenbaum, Esq.                              Daniel L. Schmutter, Esq.
Kathleen N. Fennelly, Esq.                           Timothy Sheehan, Esq.
Timothy P. Harkness, Esq.                            David H. Thompson, Esq.
Christopher J. Ioannou, Esq.                         Daniel M. Vannella, Esq.
Mitchell B. Jacobs, Esq.

RE: Association of New Jersey Rifle and Pistol Clubs I, et al v. Attorney General New Jersey,
et al
Case Number: 24-2415, 24-2450, 24-2506
District Court Case Number: 1:22-cv-04397; et al.

Dear Counsel:

The above-entitled case(s) has/have been tentatively listed on the merits for
Monday, June 30, 2025, in PHILADELPHIA, PA. It may become necessary for the panel to
move this case to another day within the week of June 30, 2025. Counsel will be notified if such
a change occurs.

The panel will determine whether there will be oral argument and if so, the amount of time
allocated for each side. (See Third Circuit Internal Operating Procedures, Chapter 2.1.)
Approximately 18 calendar days prior to the first day of the panel sitting, you will be advised
whether oral argument will be required, the amount of time allocated by the panel, and the
specific date on which argument will be scheduled. Pursuant to Fed. R. App. P. 29(a)(8), an
amicus curiae may participate in oral argument only with the Court’s permission.
            Case: 24-2415           Document: 65           Page: 2        Date Filed: 05/06/2025




Page – 2 –                                            May 6, 2025


Counsel shall file an acknowledgment form within seven (7) days from the date of this letter to
provide the name of the attorney who will present oral argument if the panel determines
argument is necessary. In addition, please indicate whether or not counsel is a member of the bar
of this Court. 1If the attorney is not a member of the bar of this Court, an application for
admission shall be completed and submitted to this office without delay.

The hyperlinks for access to the acknowledgment form, application for admission, and
appearance form are provided for your convenience, and are also available on the Third Circuit
website. Please file your completed acknowledgment form through CM/ECF.

Counsel are also asked to update their PACER account with a cell phone number if one is not
already included. Such information will not be publicly accessible and will be used if necessary
to contact counsel expected to appear for oral arguments.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk


By: Ashley
Calendar Clerk
267-299-4947




1
  Bar membership is not necessary if counsel represents a U.S. government agency or officer thereof or if the party
is appearing pro se.
